BRYAN SCHRODER
United States Attorney

KYLE REARDON
Assistant U.S. Attorney
Federal Building & U.S. Courthouse
222 West Seventh Avenue, #9, Room 253
Anchorage, Alaska 99513-7567
Phone: (907) 271-5071
Fax: (907) 271-1500
Email: kyle.reardon@usdoj.gov

Attorneys for Plaintiff

                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

  UNITED STATES OF AMERICA,                 ) No.
                                            )
                          Plaintiff,        ) COUNT 1-2:
                                            ) FELON IN POSSESSION OF
          v.                                ) FIREARM AND AMMUNITION
                                            ) Vio. of 18 U.S.C. §§ 922(g)(1) and
  TRISTAN GRANT, a/k/a “Goo,”               ) 924(a)(2)
                                            )
                          Defendant.        ) CRIMINAL FORFEITURE
                                            ) ALLEGATION
                                            ) 18 U.S.C. § 924(d) and
                                            ) 28 U.S.C. § 2461(c)
                                            )

                                       INDICTMENT

       The Grand Jury charges that:

                                         COUNT 1

       Between a date unknown to the Grand Jury, but no later than on or about

November 15, 2018, and on or about December 13, 2018, within the District of Alaska,

the defendant, TRISTAN GRANT, a/k/a “Goo,” having been convicted of crimes


      Case 3:19-cr-00003-RRB-MMS Document 20 Filed 01/15/19 Page 1 of 4
punishable by imprisonment for a term exceeding one year, did knowingly possess, in

and affecting interstate and foreign commerce, firearms and ammunition, to wit,

      1. A Glock 10mm caliber pistol, Model 29GEN4; and

      2. 12 rounds of 10mm ammunition.

                                       COUNT 2

      Between on or about December 7, 2018, and on or about December 13, 2018,

within the District of Alaska, the defendant, TRISTAN GRANT, a/k/a “Goo,” having

been convicted of crimes punishable by imprisonment for a term exceeding one year, did

knowingly possess, in and affecting interstate and foreign commerce, firearms and

ammunition, to wit,

      1. an IO Inc. 7.62x39 caliber M214 Nano pistol; and

      2. 20 rounds of 7.62x39 ammunition.

                                       Convictions

  Conviction Date            Offense                   Court              Case No.
                                                Spotsylvania Circuit
                       Sale of Drugs on or
 November 7, 2003                               Court, Spotsylvania    177CR0300145200
                      near School Property
                                                  County, Virginia
                                                Spotsylvania Circuit
  August 15, 2006      Attempted Robbery        Court, Spotsylvania    177CR0500159800
                                                  County, Virginia
                                                 Superior Court for
                        Possession of a
                                                the State of Alaska,
   August 8, 2011     Controlled Substance                               3AN-11-7467
                                                   Third Judicial
                                4
                                                      District




                                        Page 2 of 4



     Case 3:19-cr-00003-RRB-MMS Document 20 Filed 01/15/19 Page 2 of 4
     Conviction Date           Offense                    Court                 Case No.
                                                   Superior Court for
                                                  the State of Alaska,
      May 21, 2012            Assault 3                                   3AN-11-10541
                                                     Third Judicial
                                                        District
                          Possession of a
                                                    Federal District
                        Controlled Substance
     April 17, 2013                                 Court, District of   3:12-cr-00063-SLG
                         with the Intent to
                                                        Alaska
                             Distribute

        All of which is in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

                       CRIMINAL FORFEITURE ALLEGATION

        The allegations contained in Counts 1 and 2 of this Indictment are hereby re-

alleged and incorporated by reference for the purpose of alleging forfeitures pursuant to

18 U.S.C. § 924(d), and 28 U.S.C. § 2461(c).

        Upon conviction of the offense in violation of 18 U.S.C. §§ 922(g)(1) and

924(a)(2), as set forth in Counts 1 and 2 of this Indictment, the defendant, TRISTAN

GRANT, a/k/a “Goo,” shall forfeit to the United States pursuant to 18 U.S.C. § 924(d)

and 28 U.S.C. § 2461(c), any firearm or ammunition involved in or used in knowing

violation of the offense, including, but not limited to the following,

        1.     A Glock 10mm caliber pistol, Model 29GEN4, serial number BCNA440;

        2.     12 rounds of 10mm ammunition;

        3.     an IO Inc., 7.62x39 caliber M214 Nano pistol, serial number S034347; and

        4.     20 rounds of 7.62x39 ammunition.

//

//
                                          Page 3 of 4



        Case 3:19-cr-00003-RRB-MMS Document 20 Filed 01/15/19 Page 3 of 4
      All pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), and Rule 32.2(a) of the

Federal Rules of Criminal Procedure.

      A TRUE BILL.

                                                s/ Grand Jury Foreperson
                                                GRAND JURY FOREPERSON



s/ Kyle Reardon
KYLE REARDON
Assistant U.S. Attorney
United States of America



s/ Bryan Schroder
BRYAN SCHRODER
United States Attorney
United States of America


DATE:        1/15/19




                                       Page 4 of 4



     Case 3:19-cr-00003-RRB-MMS Document 20 Filed 01/15/19 Page 4 of 4
